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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



THE UNITED STATES OF AMERICA

ex rel. [UNDER SEAL],                           CIVIL ACTION NO.

      Plaintiffs,

v.

[UNDER SEAL],                                   FILED IN CAMERA
                                                and UNDER SEAL
      Defendants.




                               COMPLAINT




              SEALED CASE – DO NOT PUT ON PACER
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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


THE UNITED STATES OF AMERICA ex rel.
FPPD,                                          CIVIL ACTION NO.

     Plaintiffs,
v.                                             FILED IN CAMERA
                                               and UNDER SEAL
OCWEN FINANCIAL CORPORATION,
OCWEN LOAN SERVICING, LLC,
ALTISOURCE PORTFOLIO SOLUTIONS,
S.A., ALTISOURCE RESIDENTIAL
CORPORATION, ALTISOURCE ASSET
MANAGEMENT CORPORATION,
REALHOME SERVICES AND SOLUTIONS,
INC., REAL ESTATE SERVICING
SOLUTIONS, INC., PREMIUM TITLE
SERVICES, INC., NATIONWIDE CREDIT,
INC. AND HOME LOAN SERVICING
SOLUTIONS, LTD.,

     Defendants.




                   FALSE CLAIMS ACT QUI TAM COMPLAINT
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                                 INTRODUCTORY STATEMENT

       1.      This is an action brought on behalf of the United States of America by Plaintiff

FPPD (hereafter referred to as “Relator” or “Plaintiff”) against the named Defendants, pursuant

to the Qui Tam provisions of the Federal Civil False Claims Act, 31 U.S.C. §§ 3729-33 (“Federal

FCA” or “FCA”). This Qui Tam Action is brought in camera and under seal.

       2.      Among the partners of Relator FPPD are individuals who purchased bonds, a

form of Residential Mortgage Backed Securities (“RMBS”), during the period 2009-2012.

Other bondholders/investors in these deals include the United States Government, its agencies,

and financial institutions in which the United States has a financial interest by virtue of “bailout”

measures taken in response to the housing and financial crises of 2007-2009.

       3.      The underlying mortgage loans that act as collateral for these bonds are serviced

by Defendant Ocwen Financial Corporation pursuant to Pooling and Servicing Agreements

between OCWEN as “servicer” and various banks/financial institutions who act as trustees of the

trusts and the trusts themselves that are set up to act as the vehicle for the pooling of the loans

and the issuance of the bonds.

       4.      Defendant OCWEN is among the largest servicers of subprime residential

mortgage loans in the United States. OCWEN claims to employ about 5,000 workers, roughly

three-quarters of them in India and Uruguay, to manage home loans of borrowers whose

mortgages have been packaged into securities and sold to investors. In this capacity, Defendant

OCWEN is responsible for all aspects of managing the loans from collecting mortgage

payments, to modification, to foreclosure and liquidation; and it uses the services of third parties,

including the other Defendants who are related parties to OCWEN, to carry out its obligations.

       5.      The investors/bondholders earn money on their investment (or not) depending on
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how the underlying loans in the pool perform, the fees and expenses incurred by the servicer, the

value of any liquidated properties, and the seniority of the bond/tranche in the capital structure,

among other factors.

       6.      Relator alleges that the Defendants are illegally enriching themselves at the

expense of the bondholders, including the United States. Defendants’ misconduct, which is

detailed further below and in Relator’s Disclosures, includes at least the following means of

enriching themselves to the detriment of the investors, including Relator and the United States:

       (a) Defendant OCWEN charges excessive and unreasonable fees and expenses while

       servicing the loans. It also contracts almost exclusively with the other Defendants for all

       services provided to the trusts (bond issuers) in the management of the underlying

       mortgage loans. These excessive fees and self-dealing result in significantly inflated

       prices charged to the trust and thus a lower return on investment to the bondholders. At

       the same time, the services provided are often well below industry standards and in some

       cases are almost non-existent. The Pooling and Servicing Agreements which govern the

       relationship between the trust and OCWEN (the servicer) require a defined standard of

       care which is not met most, or all, of the time.

       (b) Defendant OCWEN, in coordination with other Defendants, has put in place a

       business model that is not the industry norm and that has the effect of delaying the

       process of liquidating real estate after the foreclosure process (known as “real estate

       owned” or “REO”) allowing OCWEN to increase all manner of fees to the Defendants,

       including without limitation, servicing fees, late fees, property management fees,

       property preservation and maintenance fees, legal fees, referral fees, and expenses for

       valuation techniques including competitive market analysis (“CMA”) and/or broker price


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opinions (“BPO”). A key component of this model is directing potential buyers to a

proprietary OCWEN website called Hubzu.com. Defendants’ various practices delay the

sale of properties, result in lower liquidation values, and additional fees and expenses.

(c) Defendant OCWEN violates its contractual obligations to the trust under the Pooling

and Servicing Agreements to continue advancing principal and interest (“P&I”) on

delinquent loans, once the loan is deemed “non-recoverable”. This practice is reflected in

elevated “stop advance” rates compared to the industry. In addition, OCWEN has a very

high rate of modifying loans it is servicing in order to recoup prior advances and take

cash flow out of the trust. These activities significantly disrupt the cash flows to the

bondholders, while dramatically lowering OCWEN’s cost of funds and thus increasing its

profit. Defendant OCWEN has given Defendant ALTISOURCE a mandate to prioritize

loans with high advance amounts, manipulating the sale process to their advantage in

order to more rapidly recover past advances.

(d) Defendant OCWEN and the other Defendants engage in self-dealing and preferential

dealing by selling REO properties in bulk to related parties rather than in the competitive

marketplace.

(e) Defendant OCWEN has and uses preferential guidelines and procedures for certain

REO loans deemed “OCWEN-owned assets” or “special serviced assets”. On these

“special serviced assets”, Defendant OCWEN is not only the servicer, but it also has a

beneficial ownership in either the loans themselves or through ownership of tranches in

RMBS trusts in which these loans are held. Those tranches continue to pay interest to

OCWEN as long as there are minimal losses from REO liquidations. As such, OCWEN

can control or manipulate the timing of when these losses occur by requiring Defendant




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       ALTISOURCE to obtain special approval in the pricing and disposition of these

       OCWEN-owned assets. OCWEN is manipulating to its own advantage the sale of these

       REO properties by inflating the sale price of the property (“Initial Listing Price”), thus

       preferentially handling these OCWEN-owned assets at the expense of other loans under

       OCWEN’s servicing platform. The OCWEN-owned assets were also marketed and

       prepared for sale differently than other REO properties.

       (f) Defendant OCWEN minimizes the use of “short sales”, to the detriment of the

       bondholders. While short sales are very beneficial to bondholders, such sales reduce the

       significant fees the OCWEN Defendants can earn that are associated with going through

       foreclosure and on to an REO liquidation. Industry statistics show dramatically lower

       percentages for short sales at OCWEN versus all other servicers.

       (g) All of the Defendants (and their many subsidiaries and affiliates) conspire to carry out

       the above schemes and to enrich themselves to the detriment of the bondholders.

       7.      These violations have exposed, and continue to expose, the United States

Government, its agencies, and the United States Treasury to substantial losses in connection with

bonds currently or formerly held by the United States or financial institutions in which the

United States has a financial interest by virtue of various “bailout” measures taken in response to

the housing and financial crisis of 2007-2009. On information and belief, the practices

complained of herein have existed since at least 2006, and are continuing.




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                                 JURISDICTION AND VENUE

       8.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, 28 U.S.C. § 1367, and 31 U.S.C. § 3732, the last of which specifically confers

jurisdiction on this Court for actions brought pursuant to the False Claims Act, 31 U.S.C. §§

3729, et seq.

       9.       To Relator’s knowledge, this action is not barred by any provision of the Federal

FCA. In particular, the Federal FCA bar contained in 31 U.S.C. § 3730(4) does not apply to

Relator: there is no civil suit or administrative proceeding involving the allegations and

transactions herein to which the United States is a party, there has been no statutorily defined

“public disclosure” of these allegations or transactions or any allegations or transactions that are

substantially the same, and, in any event, Relator is an “original source” within the meaning of

the FCA.

       10.      This Court has personal jurisdiction and venue over the Defendants pursuant to 28

U.S.C. § 1391(b) and 31 U.S.C. § 3732(a) because those sections authorize nationwide service of

process and because each Defendant has minimum contacts with the United States. Moreover,

one or more of the Defendants can be found in, reside, and transact business in this District.

       11.      Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) because

Defendants transact business in this judicial district, and acts proscribed by 31 U.S.C. § 3729

have been committed by Defendants in this District. Therefore, venue is proper within the

meaning of 28 U.S.C. §1391(b) and (c) and 31 U.S.C. § 3732(a).




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                                           PARTIES

       12.     The primary real party in interest to this Qui Tam Action is the United States of

America. Accordingly, at this time, Relator is pursuing this action on behalf of the United

States of America as well as on its/their own behalf. See, e.g., 31 U.S.C. § 3730(b)(1).

       13.     Plaintiff/Relator FPPD is a general partnership organized under the laws of the

State of Delaware. It is comprised of individuals who bring this Qui Tam action based upon

direct, personal, and unique information. The identity of these partners/individuals has been

provided to the United States.

       14.     Defendant OCWEN FINANCIAL CORPORATION (“OCWEN”) is a publicly

traded corporation (NYSE:OCN). OCWEN is one of the nation’s largest providers of subprime

residential loan servicing, special servicing and asset management services. OCWEN is

headquartered in Atlanta, Georgia, with additional offices in West Palm Beach and Orlando,

Florida, Houston, Texas, St. Croix, the United States Virgin Islands and Washington, DC, and

support operations in India and Uruguay. OCWEN does business through a number of

subsidiaries and related companies including the other named Defendants.

       15.     Defendant OCWEN LOAN SERVICING, LLC, is a subsidiary and the mortgage

servicing arm of OCWEN, primarily engaged in the servicing of residential mortgage loans.

       16.     Defendant ALTISOURCE PORTFOLIO SOLUTIONS, S.A., is a publicly traded

corporation ((NASDAQ Global Select Market: ASPS), which was spun off from OCWEN in

August 2009. ALTISOURCE provides services related to real estate and portfolio management

and asset recovery. OCWEN Luxembourg S.à r.l. was renamed ALTISOURCE Portfolio

Solutions S.à r.l. in May 12, 2009 and converted into ALTISOURCE Portfolio Solutions S.A. on

June 5, 2009. Its largest customer continues to be OCWEN. ALTISOURCE is organized under




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the laws of Luxembourg and is headquartered in Atlanta, Georgia. The company has numerous

offices in the United States (including Boston, MA, Irvine, CA, Sacramento, CA, St. Louis, MO,

Tempe, AZ and Vestal, NY), and offices globally in Luxembourg, Philippines, and India (in

particular cities of Bagalore, Goa, and Mumbai).

         17.   Defendant ALTISOURCE RESIDENTIAL CORPORATION is a publicly traded

corporation (NYSE:RESI) that was spun off from Defendant ALTISOURCE in December 2012.

         18.   Defendant ALTISOURCE ASSET MANAGEMENT CORPORATION is a

publicly traded corporation (OTCQX: AAMC) that was also spun off from Defendant

ALTISOURCE in December 2012.

         19.   Defendant REALHOME SERVICES AND SOLUTIONS, INC. is an affiliate of

ALTISOURCE. The company describes itself as a national real estate brokerage specializing in

the listing, marketing and sale of REO and foreclosure properties. The company is primarily

responsible for providing brokerage services for all properties derived from OCWEN serviced

loans.

         20.   Defendant HOME LOAN SERVICING SOLUTIONS, LTD., is a publicly traded

corporation ((NYSE:HLSS), which was spun off from OCWEN in March 2012. The company’s

business is to acquire mortgage servicing assets consisting of servicing advances and mortgage

servicing rights (“MSRs”). The primary source of these mortgage servicing assets comes from

OCWEN.

         21.   Defendant REAL ESTATE SERVICING SOLUTIONS, INC. is a subsidiary and

the real estate brokerage division of OCWEN.




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       22.     Defendant PREMIUM TITLE SERVICES, INC., a subsidiary of Defendant

ALTISOURCE, performs and charges for title work, including for settlement/closing fee, title

search, and title insurance and an overnight/courier service.

       23.     Defendant NATIONWIDE CREDIT, INC., a subsidiary of Defendant

ALTISOURCE is a provider of customer relationship and accounts receivable management

services. In 2007 Defendant OCWEN acquired Nationwide Credit Inc and the division was

consolidated into ALTISOURCE in 2009.

       24.     The Defendants are vertically integrated and interrelated, operating under the

direction of OCWEN. Despite the claim that these are separate and distinct businesses, the

Defendants have overlapping management and common ownership, integrate policy and

procedures with shared internal systems, and report directly to OCWEN across business affiliates

and separate entities. They will be referred to herein collectively as “OCWEN”, the

“Defendants” or “the OCWEN Defendants”. In addition, the term ALTISOURCE may apply to

Defendant ALTISOURCE or collectively to the Defendants spun off from ALTISOURCE.


                           THE FEDERAL FALSE CLAIMS ACT

       25.     This is a case brought under the False Claims Act, a federal statute that was first

enacted in 1863. During the Civil War, certain unscrupulous government contractors provided

the Union Army with shoddy supplies, including horses and mules that were in poor health,

faulty rifles and ammunition, and spoiled rations and other provisions. As a result, Congress

passed the original False Claims Act, which was known as the “Informer’s Law” or the “Lincoln

Law” after President Abraham Lincoln. This law made it illegal to present false statements to

the United States Government to improperly obtain more money from the government than the

government actually owed. In addition, Congress authorized private citizens to stand in the



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shoes of the United States Government and bring claims on behalf of the Government against

those that violated this law. When that happens, the private citizen is like a private attorney

general “standing in the shoes” of, and representing the interests of, the United States. Such cases

are known as “qui tam” cases, and the person bringing the case in the name of the United States

is called the “relator”.

        26.     The False Claims Act has been amended over the years. Currently, the False

Claims Act provides, inter alia, that a person or entity violates the False Claims Act if it: (1)

submits or causes others to submit false or fraudulent claims to the United States for payment or

approval; (2) makes, uses or causes others to make or use a false record or statement material to

a claim; (3) conspires to defraud the United States by violating any provision of the FCA; or (4)

avoids, decreases or conceals an obligation to pay money to the United States.

        27.     The False Claims Act is designed to reach all types of fraud that might result in

financial loss to the United States. The False Claims Act is applied broadly and reaches any

fraudulent attempts to cause the United States to pay out sums of money or to fail to return

property or money to the United States. A violation of the False Claims Act occurs not only in

those situations in which the claims themselves are false on their face, but also in those situations

where a person or company engages in a fraudulent course of conduct in seeking or causing

someone else to seek payment, directly or indirectly, from government funds. To that end, the

FCA contains the following relevant provisions.

        28.     The Federal FCA, 31 U.S.C. § 3729(a)(1)(A), makes “knowingly” presenting or

causing to be presented any false or fraudulent claim for payment or approval, a violation of

federal law for which the United States may recover three times the amount of the damages the




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government sustains and a civil monetary penalty of between $5,500 and $11,000 per claim for

claims made on or after September 29, 1999.

        29.    The Federal FCA, 31 U.S.C. § 3729(a)(1)(B), makes “knowingly” making, using,

or causing to be used or made, a false record or statement material to a false or fraudulent claim,

a violation of federal law for which the United States may recover three times the amount of the

damages the Government sustains and a civil monetary penalty of between $5,500 and $11,000

per claim for claims made on or after September 29, 1999.

        30.    The Federal FCA, 31 U.S.C. § 3729(a)(1)(C), makes conspiring to commit a

violation of the FCA, an independent violation of the FCA for which the United States may

recover three times the amount of the damages the Government sustains and a civil monetary

penalty of between $5,500 and $11,000 per claim for claims made on or after September 29,

1999.

        31.    The Federal FCA, 31 U.S.C. § 3729(a)(1)(G), makes it illegal for any person to

“knowingly” make, use or cause to be made or used a false record or statement material to an

obligation to pay or transmit money or property to the Government, or to knowingly conceal or

knowingly and improperly avoid or decrease an obligation to pay or transmit money or property

to the Government, a violation of federal law for which the United States may recover three

times the amount of the damages the Government sustains and a civil monetary penalty of

between $5,500 and $11,000 per claim for claims made on or after September 29, 1999.

        32.    The Federal FCA defines an “obligation” to pay as “an established duty, whether

or not fixed, arising from an express or implied contractual, grantor-guarantee, or licensor-

licensee relationship, from a fee-based or similar relationship, from statute or regulation, or from

the retention of any overpayment.”




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       33.     The Federal FCA defines a “claim” to include any request or demand, whether

under contract or otherwise, for money or property which is made to a contractor, grantee, or

other recipient if the United States Government provides any portion of the money or property

which is requested or demanded, or if the Government will reimburse such contractor, grantee,

or other recipient for any portion of the money or property which is requested. 31 U.S.C. §

3729(b)(2).

       34.     The FCA, 31 U.S.C. § 3729(b)(1), provides that “(1) the terms ‘knowing’ and

‘knowingly’ – (A) mean that a person, with respect to information – (i) has actual knowledge of

the information; (ii) acts in deliberate ignorance of the truth or falsity of the information; or (iii)

acts in reckless disregard of the truth or falsity of the information; and (B) require no proof of

specific intent to defraud.”

       35.     The FCA, 31 U.S.C. § 3729(b)(4), provides that “(4) the term ‘material’ means

having a natural tendency to influence, or be capable of influencing, the payment or receipt of

money or property.”

       36.     For the reasons discussed below, the Defendants have violated the Federal FCA

and are liable to the United States for damages and penalties.

                                 FACTS AND ALLEGATIONS

A.     THE RESIDENTIAL MORTGAGE BACKED SECURITIES (“RMBS”) MARKET

       1.      Overview of the RMBS Market and Players, Including the OCWEN
               Defendants

       37.     The residential mortgage loan industry is comprised of banks, financial services

and other firms that originate, underwrite, securitize, and service mortgage loans, and investors

(private and governmental) who purchase residential mortgage backed securities (“RMBS”) and

are known as “certificateholders” or bondholders. As discussed below, the federal government is



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an integral player in this market.

       38.     Financial institutions such as banks buy portfolios of residential mortgage loans

from originators (the primary lender), then package or bundle together groups of loan portfolios,

place them into a vehicle such as a trust of which the bank is the trustee, and issue or sell to

investors instruments, in the form of bonds, which gives the bondholder certain rights to

payments on the subject loan “pools”. The bond is in effect a type of “promissory note” on which

the trust agrees to pay in return for the bondholder investing its money and providing the trust

with the capital to buy the mortgage loans. The bonds are also known as “tranches” because they

are structured in a way that reflects payment and default risk within the trust’s capital structure.

Each tranche has different characteristics including priority of principal and interest payments,

allocation of principal losses, and duration, all of which ultimately determine the return on

investment.

       39.     The obligations and responsibilities and rights of the depositor (the owner of the

mortgage loans), the trust (which is purchasing the loans), the trustee of the trust, the “servicer”

(who services and administers and manages the loans which are pooled in the trust), and the

bondholders are governed by a Pooling and Servicing Agreement. One example of such a

Pooling and Servicing Agreement in which OCWEN is the servicer (having acquired the original

servicer to the Agreement) and partners of the Relator are bondholders is attached hereto as

EXHIBIT A (copy of a January 1, 2006 Pooling and Servicing Agreement for the Morgan

Stanley Home Equity Loan Trust 2006-1 Mortgage Pass-Trough Certificates Series 2006-1 —the

“MSHEL Agreement”). Other examples are being provided to the United States as part of

Relator’s Disclosures.




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       40.     Generally speaking, servicers are responsible for providing to the trust the

services set forth in the Pooling and Servicing Agreement and in accordance with the standards,

representations, warranties and obligations therein. E.g., id. at Articles II and III. Basically, the

servicer (or subservicers with whom it contracts) provides a spectrum of services as required to

administer a particular loan, from collecting monthly payments of principal and interest on

paying loans, to collecting taxes, assessments and similar items, to modifying loans, to

foreclosing and liquidating REO, among other things. Id. The proceeds collected by the servicer

are placed in an account (or accounts, referred to collectively in EXHIBIT A at, e.g., Section

3.10, as the “Collection Account”) and are held in trust for the benefit of the trustee. The servicer

is entitled to make withdrawals from the Collection Account from time to time for certain

prescribed purposes, including, inter alia, to pay the servicer any unpaid servicing fees or

servicing advances, to pay certain servicing compensation, and to reimburse the servicer for

advances and for expenses. See generally Section 3.11 at pp. 88-90. The servicer also receives a

“servicing fee” as compensation for its activities and is required to pay all expenses incurred by

it as servicer without reimbursement unless specifically allowed in the Agreement. See, e.g.,

Section 3.21 at p. 100 of EXHIBIT A attached hereto.

       41.     The servicer provides a monthly remittance report to the trustee which must, at a

minimum, contain, inter alia, the amount of servicing compensation received by the servicer

during the prior distribution period and the aggregate expenses reimbursed to the servicer during

the prior distribution period. See, e.g., Section 4.03(d) at pp. 115-116 of EXHIBIT A attached

hereto. The Servicer Remittance Report for the loans subject to the Pooling and Servicing

Agreement shows various details with respect to the loans and the servicer’s expenses and

compensation. Id. In addition, the servicer must deliver to the trustee and others an annual




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statement of compliance known as an “Officer’s Certificate”, Id. at Section 3.22, and an annual

report on assessment of compliance with servicing criteria, id. at Section 3.23.

        42.      The bondholders’ return on their investment depends in part on the seniority of

the bond in the capital structure and the distribution of principal and interest, i.e. the priorities of

distribution. See, e.g., Section 4.02 at pp. 105-111 of EXHIBIT A attached hereto. As the

principal and interest is collected by the servicer, this “cash flow” is passed through the trust to

the bondholders in order of priority described above. This flow of payments is also known as the

“waterfall” because senior tranches are paid principal and interest first, then to the next tranche,

and the next tranche until all available cash flow is depleted for the distribution period (often on

a monthly basis). This too is described in the Pooling and Servicing Agreement. See, e.g., id.

The servicer provides monthly information on the underlying loans to the trustee. In turn, the

trustee provides a monthly statement, known as a remittance report, to the

bondholders/certificateholders among others, setting forth certain information with respect to the

distributions, including the amount of expense fees paid to or retained by the servicer (see, e.g.,

Section 4.03(a) at pp. 112-114 of EXHIBIT A attached hereto). In doing so, the trustee relies on

the accuracy, availability, and timeliness of the servicer’s report. Id. at Section 4.03(b). Attached

hereto as EXHIBIT B is one example of such monthly trustee reports to bondholders under the

MSHEL Agreement (EXHIBIT A); other examples are included in Relator’s Disclosures to the

United States.

        43.      Generally speaking, there are two different categories of mortgage loans that can

be pooled in the trust as collateral (i.e. the source of repayment) for RMBS deals. Among them

are what are known as:

        (a) Agency loans (loans issued or guaranteed/insured by United States federal




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       government-sponsored enterprises such as Fannie Mae, Freddie Mac, or Ginnie Mae, or a

       federal government agency or program such as the Department of Housing and Urban

       Development or Federal Housing Administration—“HUD” and/or “FHA”, and the

       Veteran’s Administration—“VA”), as discussed below; and

       (b) Non-Agency loans (ones without such federal government guarantee).

       Non-Agency RMBS are typically classified by the underlying collateral/type of

       mortgage, which do not qualify under the Agency loan guidelines; the major types are

       Prime (loan to a borrower with good credit that generally meets the lender’s strictest

       underwriting criteria), Alt-A (loan to a borrower with good credit but with limited

       documentation, or other characteristics that do not meet the standards for Prime loans),

       Subprime (loan to a borrower with poor credit), and Option ARM ( an adjustable rate

       loan that gives the borrower a set of choices of how much interest and principal to pay

       each month, including the option to negatively amortize the loan). Other non-Agency

       RMBS collateral types include traditional Second Liens, Home-Equity Lines of Credit

       (HELOCs) and Scratch & Dent (loans that are considered re-performing or have a prior

       history of delinquency).

Defendant OCWEN is one of the four largest servicers of non-Agency Subprime loans

underlying RMBS, with specialization in servicing Subprime and Alt-A. As of 11/30/2012, the

non-Agency RMBS market was estimated at approximately $950 billion, and the four largest

servicers in non-Agency loans were: Bank of America; JPMorgan Chase; Wells Fargo; and

Defendant OCWEN. Once Defendant OCWEN’s pending acquisitions of Homeward Residential

Holdings, Inc. (“Homeward”) and Residential Capital, LLC (“Rescap”) are completed as

scheduled in Q1 of 2013, OCWEN will become the second largest servicer of non-Agency




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Subprime loans, surpassing JPMorgan Chase and Wells Fargo. In Subprime, Defendant OCWEN

will move from 25% to 42% market share once these acquisitions are completed, or twice the

market share of Bank of America. These two pending OCWEN acquisitions will bring

OCWEN’S entire servicing and subservicing portfolio (non-Agency, Agency, portfolio) from

$127 billion (as of 9/30/2012) to approximately $362 billion, which is a remarkable 185%

increase.

       2.      The Federal Investment in OCWEN and non-OCWEN Serviced RMBS

       44.     The United States government plays an integral and major role in the financing of

the residential housing market by providing an array of mortgage loan repayment insurance or

guarantee programs to private lenders and borrowers through the purchase and issuance of

Agency mortgage-backed securities (as referenced above), and until 2008, by also purchasing

(i.e. investing in) non-Agency RMBS as bondholders.

       45.     The United States government’s role is carried out through numerous agencies

and programs; most relevant for this complaint are the Federal National Mortgage Association

(“FNMA” or “Fannie Mae”), the Federal Home Loan Mortgage Corporation (“FHLMC” or

“Freddie Mac”), and the Government National Mortgage Association (“GNMA” or “Ginnie

Mae”). The fundamental purpose of these entities and agencies is to provide liquidity, stability,

and affordability to the United States residential housing and mortgage markets.

       46.     To effectuate their missions, these entities invest in RMBS offered for sale by

banks, financial service firms and others. In essence, by purchasing securities backed by

mortgage loans, they provide liquidity to the market so banks and lenders, etc. may continue to

lend money, originate new mortgage loans, and increase homeownership. However, if there is a

loss on the mortgages through default or foreclosure, these entities and agencies, like the other




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investors, risk losing money.

       47.     The United States, its entities and agencies owned over $140 billion of non-

Agency RMBS when the downturn in the housing market occurred starting in 2007. As a result

of substantial losses in the residential housing market, Fannie Mae and Freddie Mac were placed

under the control of a conservator, the Federal Housing Finance Agency (“FHFA”), in July 2008

because they were unable to meet their obligations without assistance from the federal

government. By doing so, the federal government guaranteed their debt using federal monies.

       48.     The following chart shows the non-Agency RMBS owned by Fannie and Freddie

as of 12/31/2009 and the most recent quarter 9/30/2012. The RMBS portfolios were purchased

prior to conservatorship and are comprised mostly of pools of loans originated 2007 and earlier,

because new issuance of non-Agency RMBS halted once the financial crisis began.



                                                 Holdings ($mn)
                                       Fannie Mae              Freddie Mac
                                 12/31/2009    9/30/2012 12/31/2009 9/30/2012

Subprime mortgage loans:             20,527         15,437       61,019       45,166
Option ARM mortgage                   6,099          4,348       17,687       12,477
loans:
Alt-A mortgage loans:                18,406         13,392       17,998       13,055

TOTAL                                45,032         33,177       96,704       70,698

12/31/2009:          141,736
 9/30/2012:          103,875


As this table shows, during the time period at issue in this Complaint, Fannie Mae and Freddie

Mac have owned a substantial amount of Subprime RMBS, an area in which Defendant OCWEN

specializes. Overall, Relator estimates that Fannie and Freddie have owned about 18% of



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OCWEN’s book of business, and that in late 2012 OCWEN serviced about $23 billion in RMBS

owned by Fannie Mae and Freddie Mac.

       49.        The economic crisis brought other federal monies and funds into the market in

other ways. For example, many financial institutions received federal monies and guarantees

through the Troubled Asset Relief Program (“TARP”) and the United States Treasury

Department effectively invested in certain institutions by injecting capital in the form of

preferred and common stock and by guaranteeing certain obligations.

       50.        In 2009, TARP created an initiative to support secondary RMBS markets through

the Legacy Securities Public-Private Investment Program (“PPIP”). The PPIP approved 9 large

asset managers to raise capital for funds (a public-private investment fund or “PPIF”) to invest in

RMBS and commercial mortgage-backed securities (“CMBS”). The Treasury then provided

inexpensive financing (leverage) to help facilitate large purchases in these bonds. As of

9/30/2012 , the Treasury had committed over $25 billion of equity and debt in various PPIFs.

Overall, $10.3 billion or approximately 74% of the PPIF portfolio holdings are non-Agency

RMBS. These funds own RMBS that are serviced by Defendant OCWEN.

       51.        The federal government undertook other steps as well in an effort to stem

residential foreclosures and losses in the housing market. In February 2009 the Treasury

announced TARP’s signature housing program under Making Home Affordable (“MHA”),

named the Home Affordable Modification Program (“HAMP”), under which mortgages would

be modified to a payment that is “affordable” and “sustainable”. HAMP distributed TARP funds

to various banks and mortgage servicers as incentive payments for home loan modifications. As

of 12/31/2012, Defendant OCWEN has received over $347 million TARP funds in the form of

incentive fees.




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       52.     The Federal Reserve Bank and its member banks have also purchased RMBS or

owned bonds by virtue of bailing out certain firms during the economic crisis. For example, the

bailout portfolios of Maiden Lane I, II, and III, previously sponsored and co-owned by the

Federal Reserve Bank of New York, were comprised of non-Agency RMBS and other structured

products in which the underlying loans are serviced by Defendant OCWEN. A listing of the

Maiden Lane portfolios serviced by Defendant OCWEN (totaling over $2.8 billion as of

3/31/2011) is being provided to the government as part of Relator’s Disclosure.

       3.      The Relator’s Investment in OCWEN and non-OCWEN Serviced RMBS

       53.     Among the partners of Relator FPPD are individuals who currently or were

previously bondholders in some 25 non-Agency RMBS deals involving loans for which

Defendant OCWEN is the majority servicer (“the OCWEN serviced loans”) and an additional 9

non-Agency RMBS deals in which OCWEN services a portion of the underlying loans. A listing

of those deals is being provided to the government as part of the Relator’s Disclosure.

       54.     In addition, entities controlled by partners of Relator FPPD currently or were

previously bondholders in over 180 RMBS deals in which the mortgage loans are serviced by

entities other than Defendant OCWEN (“the non-OCWEN serviced loans”). A listing of those

deals is being provided to the government as part of the Relator’s Disclosure.


B.     THE DEFENDANTS’ MISCONDUCT

       1.      Overview of Defendants’ Fraudulent Schemes

       55.     As noted above, Defendant OCWEN is one of the largest servicers of non-Agency

RMBS loans in the United States. As of 9/30/2012, Defendant OCWEN serviced approximately

800,000 loans with an unpaid principal balance (“UPB”) of over $125 billion. In most cases,

OCWEN has purchased the Mortgage Servicing Rights (“MSR”) or has been contracted as a



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subservicer to service loans on the behalf of other entities. OCWEN earns residential servicing

and subservicing fees of approximately $575 million per year (i.e. one-half percent of the UPB

per annum–see EXHIBIT A Article I Definition of “Servicing Fee Rate”). In addition, OCWEN

receives all the other fees, expenses, and other compensation it may be entitled to under any

given Pooling and Servicing Agreement for administering the loans. Further, Defendant

OCWEN has contracted Defendant ALTISOURCE to service the real estate owned (“REO”)

portion of their servicing portfolio, of which about 30,000 homes are liquidated or sold by

Defendant ALTISOURCE on an annual basis. A spreadsheet showing the growth in OCWEN’s

servicing and UPB is being provided to the government with Relator’s Disclosure. As of

11/30/2012, OCWEN serviced over 530 pools of non-Agency loans in RMBS deals. A listing of

those deals is being provided to the government with Relator’s Disclosure.

       56.     Defendant OCWEN claims to employ about 5,000 workers, roughly three-

quarters of them in India and Uruguay, to manage home loans of borrowers whose mortgages

have been packaged into securities and sold to investors. The properties themselves are all

located in the United States. OCWEN does business through a network of affiliated and related

companies, including the other named Defendants. Most, if not all, of these entities act as

“subservicers” or “affiliates” within the meaning of the Pooling and Servicing Agreements (see,

e.g., EXHIBIT A Article I Definition of “Affiliate” at p. 26 and “Subservicer” at p.61 and

Article II Section 3.02 at pp. 80-82). A spreadsheet showing the OCWEN Defendants and their

subsidiaries and related entities is being provided to the government as part of Relator’s

Disclosures.

       57.     Of particular importance is Defendant ALTISOURCE PORTFOLIO

SOLUTIONS, S.A., which was spun off from OCWEN in August 2009. Although OCWEN is




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now a separate company, OCWEN and ALTISOURCE share the same Chairman, William C.

Erbey, who owns about 13% of OCWEN and about 25% of ALTISOURCE. There is also

overlapping senior management of the two companies and a mixing of management

responsibilities across companies. While some inter-company relationships purport to be arms

length, most, if not all, are demonstrably not arms length.

       58.     OCWEN utilizes Defendant ALTISOURCE as the subservicer and affiliate under

the Pooling and Servicing Agreements to which OCWEN is a party. ALTISOURCE provides all

the asset management services for its former parent’s REO properties through a collection of

subsidiaries, affiliates, and related companies that have recently been spun off from

ALTISOURCE, including several also named as Defendants in this Complaint (collectively

“ALTISOURCE” OR THE “ALTISOURCE Defendants”). OCWEN and ALTISOURCE

entered into an initial Services Agreement for a 2 year period, and eventually into a long term

Services Agreement that runs until August 2020. The functions performed by ALTISOURCE

seem to be the same as before the new entity was formed, but with the separation, the services

are defined in three revenue groups: 1) Mortgage Services; 2) Financial Services; and 3)

Technology Products. OCWEN is ALTISOURCE’s largest and maybe only customer;

ALTISOURCE operations are primarily run out of three offices in India, and the vast majority of

employees are in India (reportedly there are about 120 asset managers in India allegedly handling

REO Properties in the United States versus 6 such managers in the United States; and 6,000 total

employees in India versus 300 in the United States).

       59.     The OCWEN and ALTISOURCE Defendants’ business model is to keep all

servicing activity “in house”, using all the various subsidiaries, affiliates, and related companies.

This model benefits the Defendants because a multitude of fees, expenses, and other servicing




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related revenue can be charged throughout the entire mortgage servicing process with all the

revenue kept “in house”. Without contracting independent third parties, and instead using

captive and affiliated companies, the servicing process is made more expensive for the

bondholders. This “in house” model maximizes profit to the Defendants and results in

substantially lower return to the bondholders while providing little transparency or oversight in

the scope of services and capacity of fees charged.

        60.    OCWEN (and ALTISOURCE as Subservicer and Affiliate) are obligated under

the Pooling and Servicing Agreements to provide “Accepted Servicing Practices” which means

that:

        (a) For and on behalf of the Certificateholders [bondholders], the Servicer shall service
        and administer the Mortgage Loans for which it is acting as Servicer in accordance with
        the terms of this Agreement and the respective Mortgage Loans and, to the extent
        consistent with such terms, in the same manner in which it services and administers
        similar mortgage loans for its own portfolio, giving due consideration to customary
        and usual standards of practice of mortgage lenders and loan servicers
        administering similar mortgage loans but without regard to:

               (i)     any relationship that the Servicer, any Subservicer or any Affiliate of the
                       Servicer or any Subservicer may have with the related Mortgagor;
               (ii)    the ownership or non-ownership of any Certificate by the Servicer or any
                       Affiliate of the Servicer;
               (iii)   the Servicer’s obligation to make P&I [principal and interest] Advances or
                       Servicing Advances; or
               (iv)    the Servicer’s or any Subservicer’s right to receive compensation for its
                       services hereunder or with respect to any particular transaction…

        To the extent consistent with the foregoing, the Servicer shall seek to maximize the
        timely and complete recovery of principal and interest on the Mortgage Notes.

See EXHIBIT A attached hereto at Article I Definitions “Accepted Servicing Practices” (at p.

25) and Article III at Section 3.01(a) (at pp. 78-79) (emphasis added).

        61.    The Pooling and Servicing Agreements place certain obligations on OCWEN (and

ALTISOURCE) with respect to “Realization upon Defaulted Mortgage Loans”; in particular,




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“The Servicer shall use its best efforts, consistent with Accepted Servicing Practices, to foreclose

upon or otherwise comparably convert (which may include an acquisition of REO Property) the

ownership of properties securing such of the Mortgage Loans as come into and continue in

default…The Servicer shall use reasonable efforts to realize upon such defaulted Mortgage

Loans… .” See, e.g., EXHIBIT A attached hereto at Article I Definitions “Accepted Servicing

Practices” (at p. 25) and Article III at Section 3.15 (at p. 94). “REO Property” means “A

Mortgaged Property acquired by the Trust Fund through foreclosure or deed-in-lieu of

foreclosure in connection with a defaulted Mortgage Loan.” Id. Article I at p. 56.

       62.     OCWEN (and ALTISOURCE) also have certain obligations with respect to

“Title, Conservation and Disposition of REO Property”; in particular, section 3.17 of the Pooling

and Servicing Agreement, which provides, inter alia:

       (b) The Servicer shall manage, conserve, protect and operate each REO Property for the
       Trustee solely for the purpose of its prompt disposition and sale. The Servicer, either
       itself or through an agent selected by the Servicer, shall manage, conserve, protect and
       operate the REO Property in the same manner that it manages, conserves, protects and
       operates other foreclosed property for its own account, and in the same manner that
       similar property in the same locality as the REO Property is managed. The Servicer shall
       attempt to sell the same (and may temporarily rent the same for a period not greater than
       one year, except as otherwise provided below) on such terms and conditions as the
       Servicer deems to be in the best interest of the Trustee…

       (g) The Servicer shall use its reasonable best efforts to sell, or cause its Subservicer to
       sell, in accordance with Accepted Servicing Practices, any REO Property serviced by the
       Servicer or the Subservicer as soon as possible, but in no event later than the conclusion
       of the third calendar year beginning after the year of its acquisition by the Pooling-Tier
       REMIC-1…the Servicer shall manage, conserve, protect and operate each REO Property
       serviced by the Servicer for the Trustee solely for the purpose of its prompt disposition
       and sale in a manner [subject o certain limitations] …Pursuant to its efforts to sell such
       REO Property, the Servicer shall either itself or through an agent selected by the Servicer
       protect and conserve such REO Property in the same manner and to such extent as is
       customary in the locality where such REO Property is located … .

See EXHIBIT A attached hereto at Article I Definitions “REO Property” (at p.56) and Article III

at Section 3.17 (at pp. 97-99).



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       63.       The OCWEN and ALTISOURCE Defendants are violating many of their most

basic obligations under the relevant Pooling and Servicing Agreements, and engaging in a

variety of fraudulent schemes to enrich themselves at the expense of the bondholders, including

the United States. Defendants’ misconduct, which is detailed further below and in Relator’s

Disclosures, includes at least the following:


             •   The OCWEN and ALTISOURCE Defendants are charging excessive and
                 unreasonable fees and expenses throughout the servicing of the loans. They
                 contract almost exclusively with and among each other (all of whom are affiliates
                 and related parties) for all services provided to the RMBS trusts in the
                 management of the underlying mortgage loans. This “in house” business model
                 results in excessive fees and self-dealing which in turn result in significantly
                 inflated prices charged to the trust and thus a lower return on investment to the
                 bondholders.

             •   The Defendants are charging fees and prices that are on average two to three
                 times the industry norm and what is reasonable under the industry norm. Among
                 the inflated fees charged at closing are: real estate commissions; referral fees; a
                 “buyer’s premium”; settlement and closing fees; title search and title insurance
                 fees; overnight/courier fees; property preservation fees; attorney’s fees;
                 “technology fee”; and miscellaneous other fees in connection with the liquidation
                 of properties. After closing, the Defendants reap the benefit of these fees, to the
                 detriment of the bondholders who realize less value than they should have from
                 the liquidated asset. In the Relator’s Disclosure to the United States there is a list
                 of 66 individual fee categories charged during the REO process, many of which
                 are excessive, unreasonable, and outside the industry norm.

             •   At the same time, the services Defendants provide are often well below industry
                 standards and in some cases are almost non-existent. The Pooling and Servicing
                 Agreements which govern the relationship between the RMBS trust and the
                 Defendant OCWEN (as servicer) and the other Defendants including
                 ALTISOURCE (as subservicers and affiliates) require a defined standard of
                 performance which Defendants fail most, if not all, of the time.


       64.       Each of the areas described below is an example of one in which the OCWEN and

ALTISOURCE Defendants are breaching their obligations, carrying out their fraudulent

schemes, and violating the False Claims Act. Each of these categories of misconduct causes



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harm to the bondholders (including the United States) and results in violations of the False

Claims Act.

       65.     The examples include some of the myriad ways in which Defendants are charging

excessive or inflated fees, failing to provide services in compliance with the Pooling and

Servicing Agreements, engaging in various types of self-dealing, delaying the REO liquidation

process, directing potential buyers of REO properties to the Defendants’ proprietary website

www.Hubzu.com, and engaging in behavior that lowers the liquidation value of REO properties,

all to the profit of the Defendants and the detriment of the RMBS trust and thus the bondholders.

       2.      Specific Examples of Defendants’ Fraudulent Behavior

               a.      Real Estate Commissions and Referral Fees

       66.     The Defendants rarely use local, independent, qualified real estate brokers to

represent the trust as seller, market and show the REO property, assist with closing procedures,

and be paid a commission upon successful closing. Rather, a subsidiary of Defendant

ALTISOURCE, Defendant Real Home Services and Solutions, Inc. (“RHSS”) has entered into

listing contracts with Defendant OCWEN for the exclusive right to sell REO properties. RHSS

employs on salary a cadre of real estate brokers around the country who do not perform, and are

not capable of performing, such services. Nevertheless, the Defendants charge a real estate

commission which would normally go to an outside traditional broker.

       67.     RHSS almost always serves as the listing agent and is paid 3% of the property’s

net purchase price, or a minimum broker commission of $2,500 plus 1.5% of the net purchase

price. If the buyer is represented without a real estate agent, RHSS is paid the full 6%

commission, excluding a referral fee (as described below). The procedure implemented by

ALTISOURCE discourages the use of a buyer’s agent. The buyer must transact and direct all



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bids through the use of ALTISOURCE’S own obscure website known as Hubzu.com, formerly

GoHoming.com (see below for more detail). The directed use of Hubzu.com provides a

disincentive for a buyer to use their own agent as the traditional real estate sales process is

thwarted, with the goal of Defendant ALTISOURCE collecting the full 6% commission on

property transactions where there is virtually no traditional “broker” involvement of any sort by

Defendants.

        68.     To illustrate this point, there are only some twenty RHSS realtors handling

listings across the entire United States. For example, one realtor handles all listings in New

York, Connecticut, Maine, Rhode Island, New Hampshire, Vermont and Massachusetts, while

two agents handle all of Florida (one of the states hardest hit by the housing crisis). Clearly

these agents are “listing brokers” in name only as there is no way they can be qualified to or

physically able to represent properties in such a large area. This is confirmed by anecdotal

information described below about how voicemail messages instruct callers such as potential

buyers or buyer’s brokers not to leave a voicemail as it will not be returned. Agents are paid a

salary by RHSS and ALTISOURCE pockets all of the commissions. Currently, ALTISOURCE

sells around 30,000 homes per year. This means that each RHSS realtor on average handles the

listing and “marketing” for 1,500 homes. By contrast, a typical traditional realtor might handle 6

to 8 closings in a year.

        69.     As an example, if ALTISOURCE sells 30,000 homes annually at an average price

of $100,000 (a conservative figure considering RealtyTrac reported REOs sold nationally for an

average price of $161,954 in the third quarter of 2012), then a 3% commission equals annual

revenue of $90,000,000. The National Association of Realtors estimates that approximately 10%

of all real estate transactions are done without an agent representing the buyer. If there is no




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buyer’s agent on 10% of property sales and ALTISOURCE receives the other 3% of the

commission, then the annual revenue increases by another $9,000,000. In other words, from the

above example, Defendant ALTISOURCE “earns” approximately $99,000,000 in commissions

on the work of twenty agents, or $4,950,000 per agent. In fact, these agents are likely

compensated up to about $100,000 per year. Thus, on an expenditure of $1-2 million per year,

the defendants charge the bondholders $99 million per year.

       70. On top of the commission, ALTISOURCE charges each REO transaction an

additional “referral fee” ultimately payable to OCWEN, even though ALTISOURCE is not

independent of OCWEN. Defendant OCWEN on behalf of the RMBS trust (as property seller),

has contracted ALTISOURCE, on an exclusive basis, to act as a subservicer and handle all REO

properties that are serviced by OCWEN. By directing the seller (RMBS trust) to exclusively use

ALTISOURCE as a referral listing agent, OCWEN extracts a referral fee in connection with

every sale. At closing, the referral fee is sent directly from ALTISOURCE to Defendant

OCWEN. Often the referral fee is split into two payments, each of which goes to different

entities or subsidiaries all listed as Defendants. The first referral fee is 1.5% of the property sale

price and is paid directly to Defendant RESS, an OCWEN subsidiary. The second referral fee is

either 0.5% of a property sale price equal to or greater than $80,000 OR for all other properties,

an amount equal to $1,700 less the minimum buyer broker commission. The second referral fee

is paid directly to Defendant ALTISOURCE. A referral fee is unique to loans serviced by

OCWEN and is not standard with loans sold through REO by government agencies Fannie Mae,

Freddie Mac or Ginnie Mae; nor is it standard in the industry. Using the above example, if

ALTISOURCE sells 30,000 homes annually at an average price of $100,000, then an average

2.0% referral fee produces annual revenue to Defendants OCWEN and ALTISOURCE of




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$60,000,000. This $60 million dollar per year figure can fairly be described as commercially

unreasonable and unnecessary in light of the related and affiliated nature of the two companies.

It is a poorly disguised pattern of self-dealing.

               b.      Failure to Use Proper Real Estate and REO Professionals

       71.     An agent who lists 1,350 homes per year across numerous states cannot

physically provide the services associated with a listing broker. In short, ALTISOURCE violates

the applicable standard of care in a typical residential real estate transaction. ALTISOURCE

does not provide any marketing of the properties beyond placing them on their own obscure

website known as Hubzu.com (formerly GoHoming.com). When one calls the listing agent on

these homes, the message instructs the caller not to leave a voicemail as it will not be returned.

A potential buyer or their agent can inquire, make offers etc. only through the Hubzu.com

website. The buyer or buyer’s agent can obtain only limited information on the property; there is

no proper access to the selling agent, and physical access to the property is difficult or non-

existent, resulting in lost value from every real estate transaction represented by ALTISOURCE.

In many instances, the properties are either not listed or improperly listed on the Multiple Listing

Service (“MLS”) reducing visibility, accessibility, and market competitiveness. The

ALTISOURCE listing brokers are not incurring the kind of marketing and other expenses a

typical broker would incur, nor are they performing the services such a broker would perform,

yet ALTISOURCE is charging a commission in addition to other REO related services and fees

as described herein.

       72.     Internal ALTISOURCE asset managers are responsible for managing the REO

property liquidation process from the initial listing to the property sale. The asset managers

primarily rely on third party broker’s price opinions (“BPO”) or competitive market analysis




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(“CMA”). This data is often from independent agents because the RHSS listing broker has

almost never visited the property and may not be competent in the local geography and data to

render a credible opinion. Also, internal procedures severely limit a U.S. based REO manager’s

ability to make a proper decision on the sale of the property, as all decisions are made by a team

in India. The entire sale process of an REO property is almost always done without one

ALTISOURCE representative ever physically visiting the property or providing necessary in-

person due diligence. Indeed, with the vast majority of its employees located overseas, such

physical presence is practically impossible.

               c.      Directed Use of Hubzu.com, “Buyer’s Premium”, and Related Fees

       73.     All communications and inquires regarding REO properties, offers to purchase,

counteroffers or other documents relating to the sale of the property must be submitted through

Defendant ALTISOURCE’s proprietary website Hubzu.com (formerly GoHoming.com and also

known as AltisourceHomes.com). Hubzu.com is designed to facilitate all ALTISOURCE REO

transactions through a central interface; however the design unjustly enriches the Defendants at

the expense of the seller (RMBS trust), while providing a substandard process for the buyer.

Overall, the directed use of this obscure website results in properties not selling, being pulled

from the market, disrupting and delaying the sale process, and lower ultimate sales prices, all to

the detriment of the trust and the bondholders.

       74.     All listed REO properties on Hubzu.com are expected to be sold either through a

process known as “Auction Listings” (also described as time limit bidding or “TLB”) or through

a traditional sale or “No Time Limit Listings”. TLB is an auction-style process where the buyer

bids against other potential buyers during a distinct time period, while No Time Limit Listings




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allow properties to sit until sold. There is little transparency of the parties involved during the

bidding process and many transactions never get approved.

       75.     A successful or winning bid results in two fees paid directly to Defendant

ALTISOURCE: a “Technology Fee” and a “Buyer’s Premium”. The Technology Fee is charged

to all buyers who purchase a property through Hubzu.com and the $299 fee is included as part of

the purchase price. The Buyer's Premium is also charged to all buyers via Auction Listings and

is based on the value of the property, and ranges from $625 to 5%. Defendant ALTISOURCE

claims this fee is included as part of the purchase price, and covers the cost of marketing the

property and facilitating the sale. However, these marketing and sale costs are traditionally offset

by the broker commissions, which are being charged by ALTISOURCE on top of the Buyer’s

Premium. In other words, a higher priced property would yield a higher Buyer’s Premium for no

extra work by the Defendants. Adding together a full broker commission of 6%, a referral

fee of 2%, and a Buyer’s Premium of 5% results in up to 13% of total fees charged by the

collective Defendants.

       76.     To make matters worse, the Technology Fee and Buyer’s Premium are not

actually paid by the buyer, as described by “charged to Buyers” under the website’s Terms &

Conditions. In fact, within the Purchase and Sale Agreement, the Defendant ALTISOURCE

disguises that the seller (the RMBS trust) shall pay at closing, on behalf of the buyer, the

Technology Fee and the Buyer’s Premium. The fees are included as part of the purchase price

but is then credited or paid by the seller. There is evidence also that the Technology Fee is again

added to the HUD-1 settlement statement as a separate line item. As the seller, bondholders

within the trust have no ability to discern these fees or contest the payments to Defendant

ALTISOURCE. In particular, the Technology Fee appears to be unique in the industry to



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OCWEN, and no where does OCWEN or ALTISOURCE explain what actual “technology”

purportedly justifies the fee.

               d.      Valuation Fees, Property Preservation, and Other Settlement and
                       Closing Fees

       77.     ALTISOURCE primarily relies on independent brokers to provide a broker’s

price opinion (“BPO”) or a competitive market analysis (“CMA”) in order to value the REO

property. There is evidence ALTISOURCE pays these third party brokers approximately $40

per BPO/CMA while charging the seller (RMBS trust) up to $117 per BPO/CMA, a 192% mark-

up. ALTISOURCE requires an updated BPO every 90 days while the property is on the market,

often resulting in multiple inflated charges. As a guideline on restrictions of servicing fees under

recently imposed industry servicing standards, BPO fees should be limited to one every 12

months unless required by the seller. In addition, an “REO Valuation” cost ranging from $134 to

$477 is charged on top of the BPO/CMA fee. In aggregate these valuation fees relating to each

property are excessive and not competitive with the industry and marketplace.

       78.     Defendant ALTISOURCE has contracted an internal property management

division called Property Preservation and Inspection (“PPI”) to maintain and preserve REO

properties. Throughout the REO process, PPI is paid on-going property preservation fees despite

using a network of vendors to perform its property management, home repairs and inspections.

On top of on-going fees, the Defendant charges a standard $700 property preservation fee at

closing for “property preservation” on every REO sale. There is little evidence to support actual

services were performed to charge an extra $700 property preservation fee per property, another

example of an excessive fee and a noncompliant service. In addition, a “Property Inspection

Fee” of $11 is charged per property, in some cases up to 7 times per property during the REO

period before sale. With such a small percentage of their workforce in the United States, it is



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practically impossible for the Defendants to engage in the kinds of due diligence with respect to

“property preservation” to justify this category of undifferentiated expenditure.

       79.       Defendant ALTISOURCE also charges an inflated fee for the removal of

unwanted items and trash from a new REO property, known as a “Trashout” fee. This fee is

typically $1,100 or more and is often charged numerous times per property. Again, it is not

plausible that this service is being performed at that level (if at all) given how few employees

Defendants have in the United States.

       80.       Defendant Premium Title Services, Inc., another subsidiary of Defendant

ALTISOURCE, performs and charges for title work, including for settlement/closing fee, title

search, and title insurance and an overnight/courier service. HUD-1 settlement statements show

that charges related to these services are high relative to others in the industry.

       81.       Moreover, “earnest fees” or deposits on the homes by the potential buyer are

sometimes retained by Defendant OCWEN when a potential buyer defaults on the purchase

contract. Defendant OCWEN may keep this money and there is little evidence or visibility if

these earnest fees are rightfully returned to the trust or bondholders as beneficial owners of the

property.

                 e. Delaying Property Resolution, Increasing Fees, Avoiding Repairs, and
                    Lowering Prices

       82.       Defendants’ conduct and business model delays the process of liquidating real

estate through the REO process in order to increase all manner of fees to the Defendants,

including without limitation, servicing fees, late fees, property management fees, property

preservation and maintenance fees, and expenses for valuation techniques. At the same time, the

Defendants avoid expending any money on repairs that would increase the properties’

marketability.



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       83.     The basic business model or philosophy of Defendant ALTISOURCE in

managing and marketing REO properties is to invest little or no money in improvements (except

for a code violation or on FHA loans which they try to discourage) and list properties initially at

higher than market prices (“Initial Listing Price”), resulting in houses sitting on the market for

longer than necessary. Moreover, the business model of handling everything within the

ALTISOURCE network and from India rather than using third party professionals in the local

market slows down the entire process and results in a lower ultimate liquidation value of the

property. While the houses “sit” awaiting liquidation, with little to no repairs to increase the

marketability of the property, the OCWEN Defendants continue to reap fees at the expense of the

seller or RMBS trust (i.e. bondholders). Generally speaking, the only properties that get repairs

are FHA properties and repairs are made only if absolutely necessary. However, in part for this

reason, at one point Defendant ALTISOURCE did not want to put FHA properties on its website

and tried to discourage FHA qualified buyers from bidding on properties. FHA loans constitute

a large part of the housing market, so discouraging FHA loans would reduce marketability, sales

price, and ultimate liquidation value of the property.

       84.     Defendant ALTISOURCE also uses a faulty valuation method based largely on

internal proprietary models derived from India. While the model does take into account BPOs

and CMAs, the output creates an inflated beginning asking price or “Initial Listing Price” (as

described in more detail below). U.S. based asset managers have consistently noted that the

model creates an unrealistic Initial Listing Price without sufficient local market intelligence. If

homes were appropriately priced, a selling agreement would often happen within 30 days.

However, it is estimated that only about 10% of the REO properties are “priced right”; the

remaining 90% sit on the market, earning fees for the Defendants. The above market asking




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prices lead to few if any offers during the first 30-45 days. After the initial time period, an

automatic price reduction program is implemented. This systematic price reduction program

does not account for characteristics specific to individual properties, but rather uses a blanket

policy to slowly reduce asking prices. The price reduction occurs at lengthy intervals (first price

reduction of 45 days, then 30 days thereafter) and at a small percentage reduction rate (5%) that

does not sufficiently adjust asking prices to current market values. However, in the meantime,

the Defendants collect fees.

          85.   To further disrupt, delay and complicate the REO process, Defendant

ALTISOURCE forces buyers to use the Hubzu.com website, enabling Defendants to collect the

wide variety of fees described above. There is little evidence that properties are sold at the best

possible price through Hubzu.com, reducing the recovery value to the seller (RMBS trust).

Indeed, houses not listed on the website close faster and at higher prices than those on the

auction site. For example, some states like Nebraska prohibit online real estate auctions so the

REO properties could not be marketed on Hubzu.com. Instead, ALTISOURCE’s REO sales

were handled the traditional way with local agents. Those houses sold much faster and at higher

prices.

          86.   The exclusive use of internal RHSS listing agents is another major impediment to

the proper handling, timing, servicing of the REO properties. The limited availability and lack of

response by RHSS listing agents slows the sales process and leaves the property in an

uncompetitive position in the local market.

          87.   In short, the complete lack of any normal marketing effort by Defendant

ALTISOURCE combined with directing the listings on Hubzu.com results in significantly

reduced recovery values on the liquidated REO property. By charging for a full suite of “in




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house” services, including title insurance, asset valuation, property preservation, website-related

fees, transactional fees and broker commission, at inflated and unjustified rates, the Defendants

have collectively enriched themselves while lowering the return for bondholders.

               f.      Underutilizing “Short Sales” and Thereby Increasing Fees

       88.     The OCWEN Defendants undertake steps to avoid “short sales”. In a short sale,

the lender/owner of the mortgage encourages the borrower/homeowner to accept an offer for sale

that is less than the value of the mortgage, and in return, the lender agrees to forgive the

difference and the property avoids foreclosure. While short sales are beneficial to bondholders

because they avoid the lengthy and costly foreclosure process, short sales shorten the time a loan

can be serviced by OCWEN and ALTISOURCE. If a short sale is not pursued, the OCWEN

Defendants can continue to collect all the aforementioned fees and commissions throughout the

entire servicing process including REO and liquidation. Industry statistics show dramatically

lower percentages for short sales at OCWEN versus all other RMBS servicers.

               g.      Sale of REO Properties to Related Party Bulk Investors

       89.     Defendant OCWEN and the other Defendants engage in self-dealing and

preferential dealing by selling REO properties to related party bulk investors rather than in the

competitive marketplace.

       90.     There are a number of “bulk buyers” who submit private bids to Defendant

ALTISOURCE rather than through the Hubzu.com website. In general, properties intended for

bulk sale are pulled from the general REO inventory and offered up to bulk investors. Bulk sales

occur monthly and there are internal code names for the bulk buyers to disguise identity. At least

one of the bulk buyers was an investment group started by a former OCWEN employee. The

bulk sales occur in many different states and regional areas. The offers on these bulk sales are



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well below the Initial Listing Prices. For example, a property listed at $15,000 may be sold to the

bulk investor for only $5,000.

                h.      Preferential Treatment of REO Property Classified as “OCWEN
                        Owned” or “Special Serviced Assets”

        91.     Defendant ALTISOURCE, in collusion with Defendant OCWEN, is handling

certain REO assets, deemed as “special serviced assets” or “OCWEN-owned assets” differently

than other REO assets. On these “special serviced assets”, Defendant OCWEN is not only the

servicer, but it also has a beneficial ownership in either the loans themselves or through

ownership of the tranches in RMBS trusts in which these loans are held. Those beneficial

tranches continue to pay interest to OCWEN as long as there are minimal losses from REO

liquidations. As such, OCWEN can control or manipulate the timing of when these losses occur

by requiring Defendant ALTISOURCE to obtain special approval in the pricing and disposition

of these OCWEN-owned assets.

        92.     The OCWEN Defendants, including ALTISOURCE, are manipulating the sale of

these “special serviced assets” by treating the Initial List Price of the REO property differently

than regularly serviced loans. These properties have an Initial Listing Price set at the greater of

107% of the highest low CMA OR 110% of Asset Value (as determined by internal valuation

models). Further, these properties are listed at 100% to 110% of the mid CMA value. In

contrast, other loans not designated as “special serviced assets” are set at an Initial Listing Price

of 94% of the Asset Value (for 13 states) and 98% of asset value for the remaining states. To

illustrate the point further, a sale less than 90% of the Initial List Price for a special serviced

asset, can only be approved by ALTISOURCE's President. If the Initial Listing Price is 107%-

110% of the Asset Value, then this 90% guideline doesn't allow for properties to be sold for less

than the true market value of the house. In other words, by inflating the Initial Listing Price and


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specifically requiring approval by certain executives, the eventual loss inflicted upon the

Defendants can be delayed.

       93.     The OCWEN-owned assets were also marketed and prepared for sale differently

than other REO properties. These properties were not marketed through the ALTISOURCE

model of directing buyers to Hubzu.com and exclusively using RHSS real estate brokers. In fact,

the properties were marketed and sold in a traditional way, using independent brokers with local

marketplace knowledge. On a comparative basis, the return on these assets (“ROA”) was higher,

favoring the Defendants. By forgoing the use of Hubzu.com for selling OCWEN-owned assets,

the Defendants substantiate the above claim that the in-house directed brokerage model actually

reduces value and increases losses to the seller (RMBS trust).

       94.     Overall, Defendants OCWEN and ALTISOURCE favor the sale of “OCWEN

owned” or “special serviced” REO assets in which they have a distinct incentive to maximize the

profit to their bottom-line. The special urgency and care associated with the OCWEN-owned

assets, including policies shared across separate businesses, is further evidence of their clear

misconduct and self-dealing with respect to other assets, as alleged herein.

               i.      Reducing or Deferring Principal and Interest Cash Flow to the RMBS
                       Trusts

       95.     Defendant OCWEN violates its contractual obligations to the trust under the

Pooling and Servicing Agreements to continue advancing principal and interest (“P&I”) on

delinquent loans. Through the use of internal net present value models, OCWEN may determine

that a delinquent loan is “non-recoverable”, at which time it chooses to stop advancing P&I to

the trust. This practice significantly disrupts the cash flows to the bondholders, while

dramatically lowering OCWEN’s need to fund required advances. While stop advancing occurs

most often in the Subprime and Alt-A servicing industry, OCWEN is an industry leader in low



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percentage of stop advance rates; advancing on almost half the amount of delinquent loans (as a

percentage) as its competitors. The advanced amount is recorded by the servicer as an asset and

can be recouped from the trust in two ways: at the final sale of the property or through a loan

modification. Not surprisingly, OCWEN also is an industry leader in loan modifications, a fast

and clever way to recoup advanced P&I and “earn” HAMP payments.

       96.     OCWEN is extremely incentivized to recoup past advances. As such, Defendant

OCWEN has given Defendant ALTISOURCE a mandate to prioritize loans with high advance

amounts. ALTISOURCE asset managers are directed by OCWEN executives to sell REO assets

with the highest advance amounts because a rapid sale meant the fast recovery of the advanced

amount, directly back to OCWEN. In similar fashion to OCWEN-owned assets (see above), the

REO assets with high advanced amounts are marketed and prepared for sale differently than

other REO properties. These properties are often sold through traditional methods, away from

Hubzu.com, and are reduced in price or discounted greater to initiate a faster sale. This

preferential treatment is yet another incident of self-dealing, intended to enrich the Defendants at

the expense of the bondholders.

C.     DAMAGES CAUSED BY THE DEFENDANTS’ MISCONDUCT

       97.      The Defendants’ misconduct alleged herein results in the Defendants being

unjustly enriched to the detriment of the bondholders, including the federal government and the

taxpayers, all for the profits of the Defendants. There are many different ways in which the

bondholders are harmed, including the following:




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       (a) REO liquidated properties are sold for a lower price than the market would have

       allowed, because, inter alia, buyers are directed to Hubzu.com, traditional real estate

       professionals are not used, and needed repairs are not made;

        (b) sales of liquidated properties are unnecessarily delayed while fees and costs are

       churned;

       (c) fees and commissions charged are excessive, unreasonable, and unjustified, resulting

       in a lower return to the bondholders even when the property is sold; and

       (d) cash flow is withheld from the trust and bondholders;

       98.     As noted above, as of 9/30/2012 Fannie Mae and Freddie Mac owned over $100

billion in non-Agency RMBS. Overall, Relator estimates that Fannie and Freddie have owned

about 18% of OCWEN’s book of business, and that in late 2012 OCWEN serviced about $23

billion in RMBS owned by Fannie Mae and Freddie Mac. Also as noted above, other parts of the

federal government own RMBS bonds as well, or have put federal money at risk in the non-

Agency RMBS market.

       99.     By failing to comport with the requirements of the Pooling and Servicing

Agreements, and otherwise engaging in a fraudulent scheme to enrich themselves at the expense

of the bondholders (in particular, the United States), Defendants have violated the Federal FCA.

These violations have exposed, and continue to expose, the United States to substantial losses on

its RMBS holdings.

       100.    On information and belief, the practices complained of herein have existed since

at least 2006. Relator has knowledge that the misconduct has occurred since at least 2009 and is

continuing.




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                                      CLAIMS FOR RELIEF

                                            COUNT ONE

               Violations of the Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(A)

                Presenting or Causing to be Presented False or Fraudulent Claims

        101.     Plaintiff and the United States reallege and incorporate by reference each and

every of the foregoing paragraphs as if fully set forth herein.

        102.     This is a claim brought by Plaintiff and the United States to recover treble

damages, civil penalties and the cost of this action, under the Federal False Claims Act, 31

U.S.C. § 3730, for Defendants’ violations of 31 U.S.C. §§ 3729, et seq.

        103.     The Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(A), makes liable:

                 “Any person who--

                 (A) knowingly presents, or causes to be presented a false or fraudulent
                 claim for payment or approval ….”

Id.

        104.     By virtue of the above-described acts, among others, since at least 2006,

Defendants have knowingly presented, or caused to be presented, false or fraudulent claims for

payment or approval, and continue to cause to be submitted false or fraudulent claims for

payment or approval, in violation of 31 U.S.C. § 3729(a)(1)(A).

        105.     Plaintiff United States, unaware of the falsity of the claims that Defendants is

submitting, or causing to be submitted to the United States, and in reliance on the accuracy

thereof, has paid or allowed for claims that would otherwise not have been allowed or paid.

        106.     It was foreseeable and in fact the intended result that those claims would be

submitted. Further, at all times relevant to the Complaint, Defendants acted with the requisite

scienter.



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       107.     As a result of Defendants’ violations of 31 U.S.C. § 3729 (a)(1)(A), the United

States is entitled to treble damages for its losses under the False Claims Act, to be determined at

trial, plus a civil penalty of $5,500 to $11,000 for each such false claim presented or caused to be

presented by Defendants.


                                          COUNT TWO

              Violations of the Federal False Claims Act, 31 U.S.C. §3729(a)(1)(B)

 Creation or Use of False Statements or Records Material to a False or Fraudulent Claim

       108.     Plaintiff/Relator and the United States reallege and incorporate by reference each

and every one of the foregoing paragraphs as if fully set forth herein.

       109.     This is a claim brought by Plaintiff and the United States to recover treble

damages, civil penalties and the cost of this action, under the Federal False Claims Act, 31

U.S.C. § 3730, for Defendants’ violations of 31 U.S.C. §§ 3729, et seq.

       110.     The Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(B), makes liable:

                “Any person who--

                (B) knowingly makes, uses, or causes to be made or used, a false record or
                statement material to a false or fraudulent claim…”

Id.

       112.     By virtue of the above-described acts, among others, Defendants knowingly

made used or caused to be made or used false records or statements material to false or

fraudulent claims to the United States, and on information and belief continue to do so, in

violation of 31 U.S.C. § 3729(a)(1)(B).

       113.     For those records and/or statements that Defendants made or used or caused to be

made or used, it was foreseeable and in fact the intended result that those statements and/or




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records would be used in a way material to a claim to the United States. Further, at all times

relevant hereto, Defendants acted with the requisite scienter.

       114.     As a result of Defendants’ violations of 31 U.S.C. § 3729 (a)(1)(B), the United

States is entitled to treble damages for its losses under the False Claims Act, to be determined at

trial, plus a civil penalty of $5,500 to $11,000 for each such false record and/or statement made

or used or caused to be made or used by Defendants.

                                         COUNT THREE

              Violations of the Federal False Claims Act, 31 U.S.C. §3729(a)(1)(G)

Making, Using or Causing to be Made or Used, a False Record or Statement Material to an
 Obligation to pay or Transmit Money or Property to the United States or Concealing,
Improperly Avoiding or Decreasing an Obligation to Pay or Transmit Money or Property
                                 to the United States

       115.     Plaintiff/Relator and the United States reallege and incorporate by reference each

and every one of the foregoing paragraphs as if fully set forth herein.

       116.     This is a claim brought by Plaintiff and the United States to recover treble

damages, civil penalties and the cost of this action, under the Federal False Claims Act, 31

U.S.C. § 3730, for Defendants’ violations of 31 U.S.C. §§ 3729 et seq.

       117.     The Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(G), makes liable

                “Any person who--

                (G) knowingly makes, uses, or causes to be made or used, a false record or
                statement material to an obligation to pay or transmit money or property to
                the Government, or knowingly conceals or knowingly and improperly
                avoids or decreases an obligation to pay or transmit money or property to
                the Government …”

Id. The term “obligation” means:

                “an established duty, whether or not fixed, arising from an express or
                implied contractual, grantor-grantee, or licensor-licensee relationship,




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               from a fee-based or similar relationship, from statute or regulation, or
               from the retention of any overpayment…”

31 U.S.C. § 3729(b)(3).

       118.    By virtue of the above-described acts, among others, Defendants knowingly

made, used, or caused to be made or used false records or statements, and/or concealed, avoided

or decreased an obligation to pay or transmit money or property and continues to do so, in

violation of 31 U.S.C. § 3729(a)(1)(G).

       119.    As a result of Defendants’ violations of 31 U.S.C. § 3729 (a)(1)(G), the United

States is entitled to treble damages for its losses under the False Claims Act, to be determined at

trial, plus a civil penalty of $5,500 to $11,000 for each such false record and/or statement made

or used or caused to be made or used by Defendants.

                                          COUNT FOUR

              Violation of the Federal False Claims Act, 31 U.S.C. §3729(a)(1)(C)

                          Conspiracy to Violate the False Claims Act

       120.    Plaintiff/Relator and the United States reallege and incorporate by reference each

and every one of the foregoing paragraphs as if fully set forth herein.

       121.    This is a claim brought by Plaintiff and the United States to recover treble

damages, civil penalties and the cost of this action, under the Federal False Claims Act, 31

U.S.C. § 3730 for Defendants’ violations of 31 U.S.C. §§ 3729 et seq.

       122.    The Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(C), makes liable:

               “Any person who--

               (C) conspires to commit a violation of subparagraph (A), (B) …or (G)…”

Id.




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       123.    By virtue of the above-described acts and omissions, among others, Defendants

have conspired from at least 2006 to violate the False Claims Act by submitting or causing to be

submitted false or fraudulent claims and/or by making, using or causing to be made or used, false

records or statements material to false or fraudulent claims. This conduct is continuing, all in

violation of 31 U.S.C. § 3729(a)(1)(A), (B), and (C).

       124.    By virtue of the above-described acts and omissions, among others, Defendants

have conspired from at least 2006 to violate the False Claims Act by making, using or causing to

be made or used, a false record or statement material to an obligation to pay or transmit money

or property to the United States or concealing, improperly avoiding or decreasing an obligation

to pay or transmit money or property to the United States. This conduct is continuing, all in

violation of 31 U.S.C. § 3729(a)(1)(G) and (C).

       125.    Further, at all times relevant hereto, Defendants acted with the requisite scienter.

       126.    As a result of Defendants’ violations of 31 U.S.C. § 3729 (a)(1)(C), the United

States has suffered substantial losses and is entitled to treble damages under the False Claims

Act, to be determined at trial, plus a civil penalty of $5,500 to $11,000 for each such violation by

Defendants.

                                    PRAYERS FOR RELIEF

       WHEREFORE, Relator, acting on behalf of and in the name of the United States of

America, and on its and its partners own behalf, demands and prays that judgment be entered as

follows against the Defendants:

       (a)      In favor of the United States against the Defendants for treble the amount of

               damages to the United States from the violations of the Federal FCA, plus

               maximum civil penalties of Eleven Thousand Dollars ($11,000.00) for each such




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